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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                      Plaintiff,
                                                              NOTICE OF MOTION
               v.

                                                            Case No.: 15-cr-00149(RJA)
FRANK R. PARLATO, JR.
                                      Defendant.

SIRS:
               PLEASE TAKE NOTICE, that upon the annexed affidavit of Herbert L.

Greenman the undersigned moves this Court for an Order permitting defendant Frank Parlato to

waive his appearance at a status conference scheduled for Monday, May 23, 2022 for reasons set

forth in the affidavit annexed hereto and made a part hereof together with such other and further

relief as to this Court may deem just and proper.

DATED:         Buffalo, New York
               May 19, 2022                   Respectfully submitted,

                                              /s/Herbert L. Greenman
                                              ___________________________
                                              PAUL J. CAMBRIA, JR,, ESQ,
                                              HERBERT L. GREENMAN, ESQ.
                                              Attorneys for Defendant
                                              FRANK PARLATO
                                              42 Delaware Avenue
                                              Buffalo, New York 14202
                                              (716) 849-1333
                                              pcambria@lglaw.com
                                              hgreenman@lglaw.com


TO:    MICHAEL DIGIACOMO, ESQ.
       CHARLES KRULY, ESQ.
       ASSISTANT UNITED STATES ATTORNEY
       138 Delaware Avenue
       Buffalo, New York 14202
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                       Plaintiff,
               v.                                                  AFFIDAVIT


                                                             Case No.: 15-cr-149(RJA)
FRANK R. PARLATO, JR., et al
                                       Defendant.


STATE OF NEW YORK               )
COUNTY OF ERIE                  )ss
CITY OF BUFFALO                 )

               HERBERT L. GREENMAN, ESQ. being duly sworn, depose and say:


               1) I am an attorney for the defendant Frank R. Parlato, Jr. together with co-

counsel Paul J. Cambria, Jr, Esq.

               2) A status conference is scheduled to be held before Senior United States

District Judge Richard J. Arcara on May 23, 2022.

               3) As the Court may be aware, Mr. Parlato resides in Florida. He has been

scheduled for cataract surgery on Monday, May 23, 2022 in Florida.

               4) As a consequence, we ask the Court to permit Mr. Parlato to waive his

appearance at the status conference.

               5) Assistant United States Attorney Michael DiGiacomo has advised that he has

no objection to this request.

               WHEREFORE, your deponent prays that this Court issue an Order accordingly.

                                               /s/Herbert L. Greenman
                                               Herbert L. Greenman, ESQ.
Subscribed and sworn to before me this
19th day of May, 2021


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/s/Elizabeth M. Jagord-Ward

Notary Public State of New York,
Qualified in Erie County
My Commission Expires October 31, 2022.




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